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                     Exhibit 15
 CNN.com - Video shows bin Laden urging Muslims to prepare for fighting - June 21, 2001
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SEARCH GO                      Video shows bin Laden urging Muslims to
MAIN PAGE                      prepare for fighting
WORLD
U.S.
                               June 21, 2001 Posted: 10:09 AM EDT (1409 GMT)
WEATHER
BUSINESS
                                                                                          ATLANTA (CNN) -- Osama bin
SPORTS
POLITICS
                                                                                          Laden has produced a videotape in
LAW
                                                                                          which he is directing his followers
SCI-TECH
                                                                                          to prepare for fighting.
SPACE
HEALTH                                                                                    Other clips show military training
ENTERTAINMENT                                                                             exercises -- including soldiers
TRAVEL                                                                                    shooting at a movie screen image of
EDUCATION                                                                                 former U.S. President Bill Clinton.
IN-DEPTH

                                 Bin Laden is suspected of masterminding
                                                                                          The tape appears to be a promotional
QUICK NEWS                       attack on USS Cole                                       vehicle designed to attract volunteers
LOCAL                                                                                     and financial contributions for his
COMMUNITY                                                                                 group.
MULTIMEDIA
E-MAIL SERVICES
                                                                                          It is not clear exactly where the nine-
CNNtoGO
                                                                                          minute-long edited tape, made a few
ABOUT US
                                                                                          months ago, was filmed.
CNN TV
what's on                      Bin Laden is believed to be living in Afghanistan -- a country whose ruling
show transcripts               Taliban government says the exiled Saudi is an honored guest.
CNN Headline News
CNN International              Much of the information about the tape comes                              VIDEO
askCNN                         from the Kuwaiti newspaper Al Rai Al-AAM,                             Recruitment video
EDITIONS                       which says the entire tape is about 100 minutes                       for Osama bin
                               long.                                                                 Laden's group
CNN.com Asia                                                                                         boasts about
CNN.com Europe                                                                                       bombing of the USS Cole (June
set your edition               The tape, which was given to Reuters Television,                      20)
                               opens with video of the USS Cole after it was
Languages
                               attacked by suicide bombers in the port of Aden, Play video
Time, Inc.                     Yemen.                                           (QuickTime, Real or Windows
                                                                                                     Media)

                               Seventeen U.S. service members were killed and
                               39 injured in the attack on October 12, 2000.

                               Later in the tape, as men run in a circle at night holding rifles as mortar fire
                               streaks over their heads, chanting men's voices are heard thanking Allah "who
                               made us victorious the day we destroyed the ship on the sea."

                               A section of the tape, which was broadcast by APTV, shows bin Laden
                               commenting on the attack.

                               "And in the sea, they charged the destroyer that is fearsome to some, one that
                               evokes horror when it docks and when it sails," he says.

                               U.S. officials have suspected bin Laden of masterminding the attack.


 http://www.cnn.com/2001/WORLD/europe/06/21/video.binladen/index.html (1 of 3)6/24/2004 3:23:23 PM
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                              In another section of the tape, the exiled Saudi makes a speech in which he seems
                              to call on his followers to attack the United States and Israel.

                              "To all the Mujahedeen, your brothers in Palestine are waiting for you, it's time to
                              penetrate America and Israel and hit them where it hurts most," bin Laden says.

                              In a speech in the tape, bin Laden addresses those who took the Jews and the
                              West as allies and forgot about Allah's word.

                              "The Americans are entrapping the Arabs with the help of the Jews. They (video
                              here shows Arab leaders with Americans Colin Powell, Gen. Norman
                              Schwarzkopf and Clinton) are taking the Americans as mentors, meanwhile they
                              are forgetting about the true believers (Muslim brothers)," he says.

                              Other images on the tape show children and teenagers training in military
                              fatigues, carrying rifles, as well as bin Laden handling a rifle. It also shows men
                              practicing explosions and raids in a building in a dry, mountainous area.

                              The U.S. government has offered a $5 million award for information leading to
                              bin Laden's arrest, after he was indicted in absentia in the bombings of two U.S.
                              embassies in Africa.

                              The August 7, 1998, blasts in Tanzania and Kenya killed 224 people, including
                              12 Americans, and injured more than 4,000 others.

                              Four men were convicted in New York May 29 in connection with the attacks,
                              and with engaging in a worldwide terrorist conspiracy to kill Americans, a
                              conspiracy allegedly led by bin Laden through his group, Al-Qaeda.

                              Thirteen other men, including bin Laden and several alleged embassy bombers,
                              are still at large. Two other defendants are in U.S. custody awaiting trial, and
                              three more are British custody fighting extradition to the United States.




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